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                                         February 6, 2023

BY ECF
Honorable Nina R. Morrison
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

   Re: Martinez v. City of New York, et al., 16 CV 79 (NRM) (CLP)

Your Honor:

   I represent plaintiff in the above-referenced matter. I write to respectfully request:
1) a thirty-day extension of the remaining briefing schedule for defendants’ pre-trial
motions; 2) pursuant to Fed. R. Civ. P. 58, entry of judgment consistent with the jury’s
verdict, retroactive to December 13, 2022; and 3) an extension of plaintiff’s deadline to
move for fees and costs.

    By order dated December 20, 2022, the Court set a schedule requiring plaintiff’s
opposition to defendants’ post-trial motions to be filed by February 27, 2023. However,
plaintiff’s counsel is engaged in preparing the opposition to summary judgment in a 23-
year wrongful conviction action pending in this District, Jackson v. Nassau County, 18
CV 3007 (JS) (AYS). The opposition in Jackson is due on February 16, 2023, and the
undersigned is scheduled to leave the country on vacation the following day and return
to the office on February 27, 2023. The undersigned has conferred with defense counsel
and respectfully requests, on consent, that the briefing schedule be amended as follows:

      Plaintiff’s opposition due:        March 29, 2023
      Defendants’ reply, if any, due:    April 12, 2023

    Second, pursuant to Rule 58(b)(1)(A) of the Federal Rules of Civil Procedure, the
Clerk of Court should have entered judgment “without awaiting the court’s direction”
following the jury’s verdict on December 13, 2022. The docket sheet reflects that
judgment has not been entered as of this writing, potentially depriving plaintiff of post-
judgment interest to which she is entitled. Accordingly, plaintiff respectfully requests
Hon. Nina R. Morrison
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that the Court enter judgment and that the judgment be deemed to have retroactive
effect to the date the verdict was rendered.

    Lastly, in the interest of efficiency, plaintiff respectfully requests that the Court allow
plaintiff thirty days from its decision on defendants’ post-trial motions to move for
attorney’s fees and costs. If it should please the Court, this will allow plaintiff’s
application to account for time devoted to opposing defendants’ motions.

   In light of the foregoing, plaintiff respectfully requests that: 1) the Court review and
adopt the revised briefing schedule set forth above; 2) judgment be entered reflecting
the jury’s verdict, with post-judgment interest retroactive to the date the verdict was
rendered; and 3) plaintiff’s deadline to file an application for fees and costs be extended
until thirty days after the Court issues its decision on defendants’ post-trial motions.

      Thank you for your consideration of this request.

                                           Respectfully submitted,


                                           Gabriel P. Harvis

cc:      Defense Counsel




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